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8                           UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
10

11    UNITED STATES OF AMERICA,                )    Case No.: 2:21-CV-06968-RGK-MAR
                                               )
12                 Plaintiff,                  )    CLAIMANT MICHAEL MAGEE’S
                                               )    VERIFIED CLAIM AND
13          vs.                                )    STATEMENT OF INTEREST IN
                                               )    CERTAIN DEFENDANT
14    $305,000 in United States Currency,      )    PROPERTY
                                               )
15                 Defendant.                  )
                                               )
16                                             )
                                               )
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18          On August 30, 2021, a Verified Complaint for Forfeiture (“Complaint”) was
19    filed by the United States of America seeking the forfeiture of $305,000 in U.S.
20    Currency (“Defendant Asset”). Pursuant to 18 U.S.C. §983(a)(4)(A) and
21    Supplemental Rule G(5) of the Federal Rules of Civil Procedure, Claimant
22    Michael Magee (“Claimant”) submits this Verified Claim asserting an interest in
23    the entirety of the seized Defendant Asset.
24          Claimant rented a box at U.S. Private Vaults, located at 9182 Olympic
25    Boulevard in Beverly Hills, California. Claimant is the owner of the seized U.S.
26    Currency Defendant Asset, which was seized from the box he rented, and the
27    source of the funds will be proven in court. As the owner of the currency,
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                                      VERIFIED CLAIM
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      Claimant has a legally cognizable interest in the entirety of the Defendant Asset
2     over any and all interests asserted by the government in the Defendant Asset.
3           Pursuant to Supplemental Rule E(8) of the Federal Rules of Civil Procedure,
4     Claimant expressly limits this appearance to asserting and defending his claim.
5     Claimant reserves all right to challenge the in rem jurisdiction of this Court and the
6     propriety of venue in this action.
7           Claimant hereby claims Defendant Asset and asserts a superior right, title,
8     and interest in the Defendant Asset.
9       Dated: October 13, 2021              Respectfully submitted,
10                                           /s/ Michael G. Freedman_______
11                                           Michael G. Freedman
                                             Attorney for Claimant
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                                       VERIFIED CLAIM
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